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        1 14
          Landon T. Maxwell, AZ #038439
        2
          CONSUMER JUSTICE LAW FIRM PLC
        3 8095 N. 85th Way
          Scottsdale, AZ 85258
        4 T: (480) 626-1975
          F: (480) 613-7733
        5 E: lmaxwell@consumerjustice.com

        6
          Jenna Dakroub, CA # 350170
        7 CONSUMER JUSTICE LAW FIRM PLC
          16130 Ventura Blvd., Suite 300
        8 Encino, CA 91316
          T: (602) 807-1525
        9 F: (480) 613-7733

        1 E: jdakroub@consumerjustice.com

        0 Attorneys for Debtor
          Joshua Scott Miller
        1

        1                            UNITED STATES DISTRICT COURT
        1                           EASTERN DISTRICT OF CALIFORNIA
                                          MODESTO DIVISION
        2

        1 In re:                                      Case No.: 23-90171-E
                                                      Docket Control: CJL-3
        3 JOSHUA SCOTT MILLER

        1                                             Chapter 7
                                 Debtor,
        4                                             MOTION FOR CONTEMPT AND
                                                      DAMAGES FOR VIOLATION OF THE
        1                                             AUTOMATIC STAY
        5
                                                      Date: August 7, 2025
        1                                             Time: 10:30 am. PST
                                                      Courtroom: Modesto Division 1200 I Street,
        6                                             Suite 200, Modesto, California

        1                                             Hon. Ronald H. Sargis
        7

        1
                      MOTION FOR CONTEMPT AND DAMAGES FOR VIOLATION
        8                         OF THE AUTOMATIC STAY
        1

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        1          Debtor, Joshua Scott Miller, (“Debtor”) seeks redress for the unlawful and intentional
        2
            practices committed by Lafayette Federal Credit Union (“Lafayette”) in connection with its
        3
            actions taken in violation of the Automatic Stay. Debtor seeks monetary relief pursuant to 11
        4
            U.S.C. § 362, and damages, both compensatory and punitive, plus all reasonable attorneys’ fees
        5
            and costs incurred in bringing this action, sanctions, and such other relief the Court deems
        6

        7 appropriate. Debtor files this motion pursuant to the Court’s May 1, 2025 Order. [Doc. 60] and

        8 May 2, 2025 Order [Doc. 62]. In support of this Motion, Debtor alleges as follows:

        9          The Petition seeking relief under Chapter 7 of Title 11 of the United States Bankruptcy
        1
            Code was filed on April 20, 2023. The case was re-opened by order of this Court on March 19,
        0
            2025, order [Doc. 31].
        1
                   After Debtor filed his Chapter 7 petition and while the automatic stay was in place,
        1

        1 Lafayette filed a UCC-1 Financing Statement (“File No. 2023-003115) (the “Financing

        2 Statement”) in order to perfect Lafayette’s security interest in Debtor’s inground pool at his

        1 residence (the “Property”).

        3          Lafayette’s action in filing the Financing Statement caused Debtor harm by essentially
        1
            rendering Debtor unable to sell the Property until the Financing Statement was terminated,
        4
            delaying Debtor and his family from moving for several months. These damages are recoverable
        1
            pursuant to Title 11 of the United States Code section 362(k)(1).
        5

        1                                      JURISDICTION AND VENUE

        6          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157. This

        1 is a core proceeding pursuant to 28 U.S.C. § 157 because this matter relates to this Court’s power

        7
            to enforce the Stay imposed in this case under 11 U.S.C. § 362. Venue is proper before this Court
        1
            pursuant to 28 U.S.C. §§ 1408 and 1409.
        8

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        1                                         STATEMENT OF GROUNDS
        2
                   In or around February 2021, Debtor applied for, and received, a personal loan from
        3
            Lafayette. As collateral, Lafayette obtained a security interest in an inground pool at Debtor’s
        4
            residence in Valley Springs, California (the “Property”). A copy of the loan agreement between
        5
            Debtor and Lafayette is attached hereto as Exhibit 3.
        6

        7          Having fallen on hard financial times, on or about April 20, 2023, Debtor filed for Chapter

        8 7 Bankruptcy. Lafayette was listed as a creditor in Schedules E/F of Debtor’s Chapter 7

        9 bankruptcy petition and was included on the Master Creditor Matrix. A copy of Debtor’s Chapter

        1
            7 bankruptcy petition is attached hereto as Exhibit 4.
        0
                   On or about April 26, 2023, the Bankruptcy Noticing Center (“BNC”) mailed notice of
        1
            Debtor’s bankruptcy petition, and the resultant Automatic Stay, to Lafayette, at the business
        1

        1 address for the Rockville, MD Lafayette branch location. A copy of the BNC Certificate of Notice

        2 is attached hereto as Exhibit 5.

        1          Unbeknownst to Debtor, on or about May 1, 2023, Lafayette, through their counsel
        3 Silverman Theologou, LLP (“ST”), filed a UCC-1 Financing Statement (“File No. 2023-003115)

        1
            (the “Financing Statement”) in an attempt to perfect Lafayette’s security interest in the Property.
        4
            A copy of the Financing Statement is attached hereto as Exhibit 6.
        1
                   Thereafter, on or about July 24, 2023, Debtor received a Chapter 7 bankruptcy discharge,
        5

        1 and the bankruptcy case was closed on or about November 3, 2023. A copy of Debtor’s Chapter

        6 7 Discharge Order is attached hereto as Exhibit 7.

        1          In or around November 2023, around Thanksgiving, Debtor and Debtor’s husband
        7
            decided to relocate their family from California to the east coast, in order to be closer to relatives
        1
            living in Tennessee and Georgia. Debtor and his family were highly motivated to relocate to the
        8

        1

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        1 east coast, as Debtor wished for his young son to meet his great grandfather, who was ninety-one

        2
            years of age and in ailing health, for the first time. See Declaration of Debtor, attached hereto as
        3
            Exhibit 1, at ¶ 5. As Debtor’s bankruptcy case had just recently closed, Debtor, on or about
        4
            November 27, 2023, emailed his bankruptcy attorneys at Resolve Law Group (“Resolve”) and
        5
            asked if there were any restrictions on selling the Property due to the bankruptcy case, or if Debtor
        6

        7 was free to sell the Property and move to the east coast. Id., at ¶ 6. Resolve responded to Debtor,

        8 accurately informing him that he was free to sell the Property at any time he wished, given that

        9 the bankruptcy case was closed. Id., at ¶ 7.

        1
                    Consequently, in January, 2024, Debtor listed the Property for sale. Id., at ¶ 8. Because
        0
            Debtor’s husband, Steven Adler (“Mr. Adler”), is a licensed real estate agent, Debtor and
        1
            Debtor’s husband listed the Property for sale themselves, without utilizing outside real estate
        1

        1 agent services. Id., at ¶ 9. Almost immediately after the Property was listed, Debtor began to

        2 receive strong interest from potential buyers. Id., at ¶ 10. Formal offers, however, never

        1 materialized, as a title search run on the property on or about January 12, 2024, revealed the

        3 existence of Financing Statement and Lafayette’s lien on the Property. A copy of the title search

        1
            results are attached hereto as Exhibit 2; Id., at ¶ 11.
        4
                    On or about February 16, 2024, Resolve mailed a demand letter (the “Demand Letter”)
        1
            to Silverman: 1) explaining that Lafayette’s filing of the Financing Statement constituted a
        5

        1 violation of the Automatic Stay; 2) explaining that Debtor had suffered financial harm due to the

        6 Lafayette’s violation; and 3) making a reasonable offer to settle Debtor’s automatic stay violation

        1 claim informally. The Demand Letter included a copy of the BNC Notice of Bankruptcy Case

        7
            Filing. A copy of the Demand Letter is attached hereto as Exhibit 8.
        1
        8

        1

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        1          Upon information and belief, on or about February 21, 2024, Silverman filed a UCC-1
        2
            Financing Statement Amendment (the “Amendment”) terminating Lafayette’s lien on the
        3
            Property. A copy of the Amendment is attached hereto as Exhibit 9. Despite taking action to
        4
            terminate the lien, however, Silverman failed to provide either Debtor or Resolve with a copy of
        5
            the Amendment, despite repeated requests by both Debtor and Resolve. See Debtor’s Declaration,
        6

        7 ¶¶ 13-14. Silverman also failed to respond to Resolve’s offer to settle Debtor’s automatic stay

        8 violation claim informally.

        9          It was crucial that Debtor be provided with a copy of the Amendment as immediately as
        1
            possible, as without one, Debtor could not demonstrate to potential buyers that Lafayette’s lien
        0
            on the Property was void, and had been terminated. Consequently, without any confirmation
        1
            from Lafayette and/or Silverman that the lien had been terminated, Debtor refrained from
        1

        1 affirmatively marketing the property, as they had no way of knowing if the lien had actually been

        2 terminated or not. This caused Debtor and Mr. Adler a great deal of stress, as they were desperate

        1 to sell the Property and move to the east coast, in order to help care for their elderly relatives in

        3 ailing health. See Debtor’s Declaration, ¶¶ 18-21.

        1
                   On or about March 1, 2025, Resolve emailed Silverman, explicitly requesting a copy of
        4
            the Amendment, but Resolve received no response. A copy of Resolve’s March 1, 2025
        1
            correspondence is attached hereto as Exhibit 10.
        5

        1          Additionally, on multiple occasions throughout February 2024 and March 2024, Debtor

        6 called and emailed Silverman requesting a copy of the filed Amendment, but was ignored. See

        1 Debtor’s Declaration, ¶ 13.

        7
                   In or around March 2024, Debtor and Mr. Adler received interest in the Property from a
        1
            potential purchaser, and entertained the offer, even though they were still unsure if the
        8

        1

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        1 termination of Lafayette’s lien had been processed. See Debtor’s Declaration, ¶ 14. Fortunately,

        2
            Lafayette’s lien no longer appeared when another title search was run on the Property by the
        3
            prospective buyer, allowing Debtor and Debtor’s husband to accept an offer of sale on or about
        4
            March 24, 2024. Id., at ¶¶ 15-16.
        5
                   On or about March 26, 2024 – more than a month after the Amendment was actually filed
        6

        7 and past the point of it being useful to Debtor in the efforts to sell the Property quickly – Silverman

        8 finally provided Debtor with a copy of the Amendment. See Debtor’s Declaration, ¶ 17.

        9          On or about September 5, 2024, Debtor’s newly-retained litigation counsel sent
        1
            correspondence to Silverman in an attempt to resolve Debtor’s automatic stay violation claim. A
        0
            copy of the September 5, 2024 correspondence is attached hereto as Exhibit 11. On or about
        1
            September 25, 2024, Silverman responded, denying liability. On or about September 30, 2024,
        1

        1 Debtor’s litigation counsel responded to the September 25, 2024 correspondence further detailing

        2 Lafayette’s liability for violating the Automatic Stay and re-extending an offer to resolve Debtor’s

        1 claim informally. Debtor filed a motion alleging violation of the automatic stay on March 26,

        3 2023. [Doc. 50]. Following a hearing on the matter held on May 1, 2025, the Court entered an

        1
            Order dismissing Debtor’s motion without prejudice, in order to allow Debtor and Lafayette an
        4
            opportunity to resolve the matter themselves. [Doc. 62]. Debtor and Lafayette were thereafter
        1
            unable to resolve the matter between them, resulting in the filing of the immediate Motion.
        5

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        1                                                 ARGUMENT
        2
                 A. Lafayette is Liable for Violating the Automatic Stay
        3
                        a. Overview.
        4
                    As noted above, bankruptcy courts have authority to award damages and impose civil
        5
            contempt sanctions against a creditor who willfully violates the automatic stay 11 U.S.C. §
        6

        7 362(k). The Court must therefore examine whether: 1) Lafayette violated the Automatic Stay;

        8 and 2) any such violation was “willful.”

        9               b. Lafayette Violated the Automatic Stay.
        1
                    A bankruptcy petition “operates as a stay” against, inter alia,
        0
                           any act to create, perfect, or enforce any lien against property of the estate,” and
        1                  “any act to create, perfect, or enforce against property of the debtor any lien to
                           the extent that such lien secures a claim that arose before the commencement of
        1                  the case under this title.”
        1
                    11 U.S.C. §§ 362(a)(4), (5).1 In this case, the Automatic Stay arose when Debtor filed
        2
            his bankruptcy petition on April 20, 2023. Because Lafayette subsequently took an act to perfect
        1
            a lien against the Property by filing the Financing Statement on May 1, 2023, it clearly violated
        3

        1 the Automatic Stay. See In re Parker, 644 B.R. 805, 825 (N.D. Cal. 2021) (“The automatic stay

        4 bars any act to perfect a lien to secure a claim that arose pre-petition against the property of the

        1 debtor.”); Ali v. Merch. (In re Ali), 2015 Bankr. LEXIS 2443, at *187 (Bankr. W.D. Tex. July

        5
            23, 2015) (holding that a creditor’s post-petition filings of UCC financing statements constituted
        1
            “violations of the automatic stay under 11 U.S.C. §§ 362(a)(4) & (5)”).
        6

        1

        7
                   Property of the bankruptcy estate includes “all legal or equitable interests of the debtor
                    1

        1 in property as of the commencement of the case.” See 11 U.S.C. § 541(a)(1). Debtor has a legal
          and possessory interest in the Property and as sch, the Property is property of the bankruptcy
        8 estate. Alternatively, the Property is property of the Debtor.

        1

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        1          Moreover, following the filing of the Financing Statement, Lafayette had an affirmative
        2
            duty to thereafter release the lien on Debtor’s property. “Congress and the Ninth Circuit Court of
        3
            Appeals have made it clear that a violation of the automatic stay is a very serious matter. A
        4
            creditor who violates the stay has an affirmative obligation to correct the violation and cannot
        5
            assert a defense based on the lack of action by a debtor to force the remedy of that creditor’s
        6

        7 violation.” Achterberg v. Creditors Trade Ass’n (In re Achterberg), 573 B.R. 819, 829 (Bankr.

        8 E.D. Cal. 2017). Lafayette, however, failed to take any affirmative action whatsoever, only

        9 terminating the lien in February 2024, after an explicit request from Debtor’s bankruptcy counsel.

        1
                       c. Lafayette’s Violation was Willful
        0
                   With respect to the “willfulness” question, Debtor does not need to prove that Lafayette
        1
            intended to violate the Automatic Stay. Rather, all Debtor needs to prove is that Lafayette: 1) was
        1

        1 notified of Debtor’s bankruptcy filing; and 2) intended its subject actions. See Pinkstaff v. United
                                                        th
        2 States (In re Pinkstaff), 974 F.3d 113, 115 (9 Cir. 1992).

        1          Regarding the “notice” requirement, “[d]ue process does not require actual notice. Rather,
        3 it requires notice ‘reasonably calculated, under all the circumstances, to apprise interested parties

        1
            of the pendency of the action and afford them an opportunity to present their objections.”
        4
            Nationstar Mortg. LLC v. Springs Prop. Owners Ass'n, 309 F. Supp. 3d 868, 874 (D. Nev. 2018)
        1
            (quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314, 70 S. Ct. 652, 94 L.
        5

        1 Ed. 865 (1950); see also In re Harrell, 325 B.R. 643, 648 (Bankr. M.D. Fla. 2005) (“Under the

        6 Mullane standard, the reasonableness and the constitutional validity of a chosen method of notice

        1 requires that the method be reasonably certain to inform those affected, but does not require the

        7
            very best method of service of process. A creditor who challenges the accuracy of a listed address
        1
            bears the burden of proving that the address used was so incorrect as to fall short of the
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        1

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        1 threshold.”); Moody v. Bucknum (In re Bucknum), 951 F.2d 204, 207 (9th Cir. 1991) (“The mailing

        2
            of a properly addressed and stamped item creates a rebuttable presumption that the addressee
        3
            received it.”).
        4
                    In this case, the BNC sent notice of Debtor’s bankruptcy filing to Lafayette at the correct
        5
            address for the Lafayette branch location in Rockville, Maryland. Sending notice to a physical
        6

        7 location where Lafayette operates business out of is clearly “reasonably calculated” to apprise

        8 Lafayette of Debtor’s bankruptcy. See In re Hernandez, No. 2:12-bk-47099-RK Chapter 7, 2017

        9 Bankr. LEXIS 4150, at *13 (Bankr. C.D. Cal. Dec. 5, 2017) (“Courts have found that generally

        1
            ‘mailing a notice to a party’s last-known address is ‘reasonably calculated’ to provide actual
        0
            notice.”); see also In re Stringer, 586 B.R. 435, 439 (Bankr. S.D. Ohio 2018) (holding that there
        1
            is “no dispute” that the creditor received notice of the debtor’s bankruptcy as the “company’s
        1

        1 correct address was listed” in the mailing matrix filed with the Court).

        2           As further confirmation that the Rockville, Maryland branch addressed used by the BNC

        1 was “reasonably calculated” to apprise Lafayette, Lafayette in fact received a copy of Debtor’s

        3 Discharge Order, which was mailed by the BNC to the same Rockville, Maryland branch address.

        1
            [Doc. 50, p. 3]. By all standards, Debtor met his burden of establishing proper notice of his
        4
            bankruptcy case via the April 26, 2023 BNC notice. See In re Savage, 167 B.R. 22, 26 (Bankr.
        1
            S.D.N.Y. 1994) (“Neither the statute nor the rules state that the creditor be listed at a particular
        5

        1 address . . . there is no requirement that a corporate creditor be listed at its home office or principal

        6 place of business.”); In re march FIRST, Inc., 345 B.R. 866, 869 (Bankr. N.D. Ill. 2006) (“When

        1 notice is mailed to the address from which a corporate creditor conducted business with a debtor,

        7
            notice of a bar date is reasonable and sufficient.
        1
        8

        1

        9                                                        9
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        1          Clearly, Lafayette has systems in place to ensure that correspondence mailed to an
        2
            individual branch location be re-routed to the preferred Tower Oaks Blvd address. Despite
        3
            receiving notice of Debtor’s bankruptcy petition and the resultant automatic stay from the BNC
        4
            on or about April 26, 2023, however, Lafayette affirmatively filed the Financing Statement on
        5
            May 1, 2023. Because Lafayette obviously intended to file the Financing Statement, Lafayette
        6

        7 cannot seriously dispute that its Automatic Stay violation was “willful.” See In re Ozenne, 337

        8 B.R. 214, 220 (B.A.P. 9th Cir. 2006) (holding that knowledge of the bankruptcy filing is the legal

        9 equivalent of knowledge of the automatic stay).

        1
                   Alternatively, if the Court determines that Lafayette did not have notice of Debtor’s
        0
            bankruptcy case at the time Lafayette filed the Financing Statement, Lafayette is nevertheless
        1
            liable for a willful violation for failing to thereafter take action to terminate the lien following
        1

        1 receipt of Debtor’s Discharge Order from the BNC on or about August 2, 2023. Despite having

        2 notice of Debtor’s bankruptcy case no later than August 2, 2023, Lafayette took no action to

        1 remedy its violation for six months (August 2023 – February 2024), despite its clear duty to have

        3 taken remedial action. See Achterberg, 573 B.R. at *830-31 (“The automatic stay imposes an

        1
            affirmative duty of compliance by the creditor . . . ‘the automatic stay requires a creditor to
        4
            maintain the status quo ante and to remediate acts taken in ignorance of the stay.”) (internal
        1
            citation omitted). Moreover, Lafayette was obligated to take action unprompted, and should not
        5

        1 have waited until specifically asked to do so by Debtor. Id., at *830 (“The automatic stay is just

        6 that, automatic . . . [w]hen a creditor has notice of a bankruptcy case, it is the creditor’s burden to

        1 determine the extent of the automatic stay and seek such relief as is appropriate.”).

        7
                   In any event, Lafayette committed a willful violation. If Lafayette had notice of Debtor’s
        1
            bankruptcy case in April 2023, than the filing of the Financing Statement was an intentional act
        8

        1

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        1 taken in violation of the stay. And if Lafayette did not have notice of Debtor’s bankruptcy case

        2
            until August 2023, it still intentionally refused to remedy its violation by taking timely action to
        3
            release the lien. Either way, Lafayette’s violation of the automatic stay was willful. Achterberg,
        4
            573 B.R. at *831 (“Once the creditor learns or has notice of a bankruptcy case having been filed,
        5
            any actions that it intentionally undertakes are deemed willful.”).
        6

        7        B. Debtor Should be Awarded Actual Damages

        8           Appropriate civil contempt sanctions for an automatic stay may include a damages award
        9 for emotional distress. Dawson v. Washington Mut. Bank (In re Dawson), 390 F.3d 1139, 1151

        1
            (9th Cir. 2004); In re Masi, 2005 Bankr. LEXIS 3005, at *10 (Bankr. D. Idaho May 24, 2005)
        0
            (“An award of actual damages is mandatory if a debtor proves both that a willful violation
        1
            occurred and that the debtor suffered some injury as a result.”).
        1

        1           To recover such damages, a debtor must “(1) suffer significant harm, (2) clearly establish

        2 the significant harm, and (3) demonstrate a causal connection between that significant harm and

        1 the violation …” Dawson, 390 F.3d at 1151. These elements may be proved with corroborating

        3 testimony or, alternatively, shown in light of “egregious conduct” by the bankruptcy law violator

        1
            or circumstances that “make it obvious that a reasonable person would suffer significant
        4
            emotional harm.” Id; see also In re White, 2007 Bankr. LEXIS 2354, at *17-18 (Bankr. D. Ariz.
        1
            July 9, 2007) (“Actual injury and harm include emotional distress suffered by a debtor, and a
        5

        1 Court may award emotional distress damages without requiring the debtor to present medical

        6 affidavits or receipts.”).

        1           In this case, Lafayette’s Automatic Stay violation caused significant emotional distress
        7
            due to the delay in moving Debtor and Debtor’s family suffered as a result. Instead of being able
        1
            to sell the Property in or around January 2024, Debtor was forced to wait until: 1) Lafayette took
        8

        1

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        1 action to terminate the lien; and 2) the processing of the Amendment, resulting in the removal of

        2
            the lien when a title search is ran. Lafayette’s actions in terminating the lien, and Lafayette’s
        3
            agents’ (Silverman) actions in failing to provide Debtor with confirmation and/or evidence of the
        4
            Amendment forced Debtor and his family to delay their plans to move until late March 2024,
        5
            when the lien termination was processed and the sale of the Property effectuated. See In re
        6

        7 McLaughlin, 2007 Bankr. LEXIS 3857, at *22 (Bankr. D. Ariz. Oct. 30, 2007) (awarding $6,000

        8 in emotional distress damages for creditor’s violation of the automatic stay); see also Snowden v.

        9 Check into Cash of Wash., Inc. (In re Snowden), 769 F.3d 651, 657 (9th Cir. 2014) (affirming an

        1
            award of $12,000 in emotional distress damages for creditor’s violation of the automatic stay);
        0
            America's Servicing Co. v. Schwartz-Tallard, 438 B.R. 313, 323 (D. Nev. 2010) (affirming an
        1
            award of $40,000 in emotional distress damages for creditor’s violation of the automatic stay);
        1

        1 Sillman v. Walker (In re Sillman), Nos. 09-22188-E-13, 12-2023, 2014 Bankr. LEXIS 292, at *40

        2 (Bankr. E.D. Cal. Jan. 21, 2014) (awarding $14,000 in emotional distress damages for creditor’s

        1 violation of the automatic stay); In re Bradford, Nos. 18-25405-B-7, PLC-1, 2018 Bankr. LEXIS

        3 3871, at *23 (Bankr. E.D. Cal. Dec. 4, 2018) (awarding $5,000 in emotional distress damages for

        1
            creditor’s violation of the automatic stay); In re Breul, 533 B.R. 782, 797 (Bankr. C.D. Cal. 2015)
        4
            (awarding $5,000 in emotional distress damages for creditor’s violation of the automatic stay).
        1
                   As detailed in Debtor’s declaration, filed concurrently herewith, the several-month long
        5

        1 delay was more than a mere inconvenience, but caused severe distress to Debtor and his husband,

        6 whose motivation for selling the Property was due to their desire to move closer to extended

        1 family, who were in ailing health. The lien unquestionably acted as an obstacle to the sale of the

        7
            Property, and the resultant delay caused Debtor to spend several months living in stress, anxiety
        1
            and frustration, instead of being able to spend that time near family. More than the inherent stress
        8

        1

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        1 and annoyance of having a move being delayed, and living in limbo for several months, Debtor

        2
            and his family, including his young son, was robbed of several months of precious time that could
        3
            have been spent with family, but was instead spent stressing over the logistics of Lafayette’s lien.
        4
            As further detailed in Debtor’s declaration, Debtor received no update or notification from
        5
            Lafayette, or Lafayette’s counsel, regarding the steps taking to terminate the lien whatsoever until
        6

        7 after Debtor had already sold the Property. Debtor got “lucky” that Lafayette did take action to

        8 terminate the lien, allowing them to sell the Property in late March 2024, but without confirmation

        9 from Lafayette as to that action taken, Debtor was in the dark, and spent many sleepless nights

        1
            wondering if the lien was being removed, or if their move would be delayed even longer.
        0
                      Debtor suffered significant emotional distress, and such distress was a direct consequence
        1
            of Lafayette’s violation. Debtor should be awarded emotional distress damages.
        1

        1        C. Debtor Should be Awarded Attorney’s Fees and Costs

        2             Attorneys’ fees are awardable to remedy violations of an automatic stay. 11 U.S.C. §

        1 362(k); in re Dyer, 322 F.3d 1178, 1195 (9th Cir. 2003). As one leading commentator has noted,

        3 the policy underlying awards of attorneys’ fees to remedy bankruptcy violations is for good

        1
            reason:
        4
                             The failure to award attorney’s fees would leave a debtor who
        1                    litigated to remedy a violation worse off than if the injunction had
                             not been violated and would discourage vindication of the
        5
                             discharge.
        1
                      4 Collier on Bankruptcy ¶ 524.02[c]
        6
                      To date, Debtor has incurred substantial attorneys’ fees and costs related to his claim to
        1
            redress Lafayette’s bankruptcy law violations. The fees encompass attorney time spent: a)
        7

        1 undertaking an investigation of Debtor’s claims; b) preparing pre-litigation correspondence to
        8

        1

        9                                                     13
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        1 Lafayette; and c) the preparation of this Motion and related papers. Debtor’s attorneys’ fees and

        2
            costs should be awarded here as well.2
        3

        4
                                                       CONCLUSION
        5
                      For the foregoing reasons, the Court should find that Lafayette willfully violated the
        6
            Automatic Stay in this matter. Pursuant to 11 U.S.C. §§ 362(k) and 105, the Court should further
        7

        8 award Debtor actual damages, including his emotional distress damages, caused by Lafayette’s

        9 violations of the Automatic Stay in this proceeding, plus Debtor’s reasonable attorneys’ fees and

        1 costs incurred.

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            Dated: June 15, 2025                            /s/Landon T. Maxwell
        1                                                   Landon T. Maxwell, AZ #038439
                                                            CONSUMER JUSTICE LAW FIRM PLC
        1                                                   8095 N. 85th Way
        2                                                   Scottsdale, AZ 85258
                                                            T: (480) 626-1975
        1                                                   F: (480) 613-7733
                                                            E: lmaxwell@consumerjustice.com
        3 "
                                                            Jenna Dakroub, CA # 350170
        1                                                   CONSUMER JUSTICE LAW FIRM PLC
        4                                                   16130 Ventura Blvd., Suite 300
                                                            Encino, CA 91316
        1                                                   T: (602) 807-1525
                                                            F: (480) 613-7733
        5                                                   E: jdakroub@consumerjustice.com
        1
                                                            Attorneys for Debtor
        6                                                   Joshua Scott Miller

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            2
                Debtor’s counsel will provide itemized time entries for attorneys’ fees/costs upon request.
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